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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                                   )
                                                            )                8:11CR43
                          Plaintiff,                        )
                                                            )
        vs.                                                 )                 ORDER
                                                            )
JUANITA HERRERA and                                         )
EVELINDA HINOJOSA,                                          )
                                                            )
                          Defendants.                       )



        This matter is before the court on the motions for an extension of time by defendants Juanita Herrera

and Evelinda Hinojosa (Filing Nos. 61 and 62). The defendants seek an additional thirty days in which to file

pretrial motions in accordance with the progression order. Counsel represents that the defendants will file

affidavits wherein they consent to the motions and acknowledge they understand the additional time may be

excludable time for the purposes of the Speedy Trial Act. Counsel represents that government's counsel has
no objection to the motion. Upon consideration, the motions will be granted



        IT IS ORDERED:

        1.       Defendants Juanita Herrera's and Evelinda Hinojosa's motions for an extension of time to file

pretrial motions (Filing Nos. 61 and 62) are granted.

        2.       Defendants Herrera and Hinojosa are given until on or before April 25, 2011, in which to file

pretrial motions pursuant to the progression order. The ends of justice have been served by granting such

motions and outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motions, i.e., the time between March 24, 2011, and April 25, 2011,

shall be deemed excludable time in any computation of time under the requirement of the Speedy Trial Act for

the reason defendants' counsel require additional time to adequately prepare the case, taking into consideration

due diligence of counsel, and the novelty and complexity of this case. The failure to grant additional time might

result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



        DATED this 24th day of March, 2011.

                                                            BY THE COURT:


                                                            s/Thomas D. Thalken
                                                            United States Magistrate Judge
